4:10-cr-03085-RGK-CRZ       Doc # 153    Filed: 08/22/11    Page 1 of 1 - Page ID # 612




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )
                    Plaintiff,           )                  4:10CR3085
                                         )
             V.                          )
                                         )
FABIAN ANTILLON-ESTRADA,                 )                    ORDER
                                         )
                    Defendant.           )
                                         )


      IT IS ORDERED that:


      (1)    The defendant’s motion for extension of time to file objections to the
presentence investigation report (filing 149) is granted.


      (2)    The plaintiff’s motion for extension of time to respond to defendant’s
objections to presentence investigation report (filing 152) is granted. The plaintiff’s
response deadline is August 29, 2011.

      DATED this 22 nd day of August, 2011.

                                        BY THE COURT:

                                        Richard G. Kopf
                                        United States District Judge
